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                             UNITED STATES DISTRICT COURT
   15
                           CENTRAL DISTRICT OF CALIFORNIA
   16

   17
        IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668-PSG (JEMx)
   18   LEAGUE’S “SUNDAY TICKET” AN-
   19   TITRUST LITIGATION                       MEMORANDUM IN OPPOSITION
                                                 TO THE NFL DEFENDANTS’
   20
                                                 MOTION FOR SUMMARY
   21                                            JUDGMENT
   22                                            JUDGE: Hon. Philip S. Gutierrez
                                                 DATE: October 27, 2023
   23   THIS DOCUMENT RELATES TO ALL             TIME: 1:30 p.m.
        ACTIONS                                  COURTROOM:
   24                                              First Street Courthouse
                                                   350 West 1st Street
   25                                              Courtroom 6A
                                                   Los Angeles, CA 90012
   26

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    1                                    INTRODUCTION
    2         The Ninth Circuit sustained the validity of Plaintiffs’ claims that the interre-
    3   lated telecasting agreements between the NFL, all of the NFL teams, and their
    4   broadcast partners violate Sections 1 and 2 of the Sherman Act. See In re Nat’l
    5   Football League’s Sunday Ticket Antitrust Litig. (“NFLST”), 933 F.3d 1156 (9th
    6   Cir. 2019). The purpose and effect of these agreements was to reduce the output of
    7   out-of-market (“OOM”) telecasts and raise the price of the NFL Sunday Ticket
    8   package to supracompetitive levels. Abundant record evidence now supports Plain-
    9   tiffs’ claims. The teams have agreed not to compete. They have monopolized their
   10   telecast rights and agreed to limit competition between NFL telecasts to such a de-
   11   gree that only two NFL telecasts—at most—can be aired head-to-head at a given
   12   time in a local television market. All Sunday afternoon games not telecast locally
   13   are available only through an exclusive and overpriced product: NFL Sunday Tick-
   14   et. As the Ninth Circuit held, these are such “naked restraints” on competition that
   15   “‘an observer with even a rudimentary understanding of economics could conclude
   16   that the arrangements in question would have an anticompetitive effect on custom-
   17   ers and markets.’” Id. at 1156 (quoting Cal. Dental Ass’n v. F.T.C., 526 U.S. 756,
   18   770 (1999)). Given these naked restraints, Defendants will face at trial “a heavy
   19   burden of establishing an affirmative defense which competitively justifies this ap-
   20   parent deviation from the operations of a free market.” NCAA v. Bd. of Regents of
   21   Univ. of Okla. (“NCAA”), 468 U.S. 85, 113 (1984).
   22         Instead of addressing their heavy burden and attempting to justify the re-
   23   straints with undisputed evidence, Defendants’ motion at bottom rehashes four le-
   24   gal arguments that the Ninth Circuit has already rejected. The motion should be de-
   25   nied on that basis alone. See, e.g., Rocky Mountain Farmers Union v. Corey, 913
   26   F.3d 940, 951 (9th Cir. 2019) (“The law of the case doctrine generally precludes
   27   reconsideration of an issue that has already been decided by the same court, or a
   28   higher court in the identical case.”) (internal quotation removed).
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    1         First, Defendants attempt to obtain the same expansive interpretation of the
    2   Sports Broadcasting Act of 1961 (“SBA”) that this Court rejected long ago when
    3   considering their original motion to dismiss. “The NFL Defendants … argue that
    4   Sunday Ticket merely re-broadcasts coverage that was initially broadcast on free,
    5   over-the-air television—namely, CBS and Fox—and, thus, is protected by the SBA.
    6   The Court agrees with Plaintiffs.” See NFLST, 2017 WL 3084276, at *13 (C.D.
    7   Cal. June 30, 2017); see also Shaw v. Dallas Cowboys Football Club, Ltd., 172
    8   F.3d 299, 303 (3d Cir. 1999) (holding that the SBA does not immunize Sunday
    9   Ticket). Defendants did not challenge this holding on appeal and the Ninth Circuit
   10   confirmed that Congress only allowed teams to collectivize their telecast rights for
   11   free distribution – not the paid telecasts that Plaintiffs purchased here. NFLST, 933
   12   F.3d 1146-47; see also Shaw, 172 F.3d 299 at 302–03 (“The NFL got what it lob-
   13   bied for; it cannot now expect the federal courts to transform ‘narrow, discrete, spe-
   14   cial-interest’ legislation into a far broader exemption.”); Chi. Prof’l Sports Ltd. v.
   15   NBA, 961 F.2d 667, 671 (7th Cir. 1992) (holding that the SBA is a “special-interest
   16   law” and that it would be “inappropriate to extend [it] to achieve more of the objec-
   17   tive the lobbyists wanted”). 1
   18         Defendants’ motion attempts to recast Plaintiffs’ claims to make it appear as
   19   if Plaintiffs are challenging far more than the collective sale of telecast rights for
   20   paid distribution. They claim Plaintiffs are seeking to “invalidat[e] lawful and eco-
   21   nomically rational activity,” Defs’ Mem. at 1, “eliminat[e] or eviscerate[] the
   22   NFL’s agreements with CBS and FOX,” id. at 2, require telecasts to “move from
   23   free television to paid cable,” id., end revenue sharing, and even reduce player sala-
   24
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          To justify reraising the issue, Defendants have claimed that Plaintiffs engaged in a
   25   “bait and switch.” Defs’ Mem. at 2. This simply isn’t so. Plaintiffs have consistent-
   26   ly challenged the interrelated and interdependent nature of these agreements and
        argued that they operate together to restrain the output of OOM telecasts. See Plain-
   27   tiffs’ Statement of Genuine Issues and Additional Undisputed Facts (“AUF”)
   28   ¶¶ 257–263 (providing citations proving there has been no change in theory).

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    1   ries. Id. Not so, as explained below. But these claims also misstate the parties’ re-
    2   spective burdens. Plaintiffs have established, as a matter of fact, contractual ar-
    3   rangements that impose naked restraints on competition. If Defendants believe
    4   these restraints are necessary to maintain some attendant, countervailing benefit that
    5   is procompetitive, it is their “heavy burden” to justify their “deviation from the op-
    6   erations of a free market.” NCAA, 468 U.S. at 113. Their motion does not even
    7   begin to attempt to meet this burden.
    8         Second, Defendants argue again that the NFL and its member teams are a
    9   “single entity” incapable of competing. The Supreme Court unanimously rejected
   10   this argument as a general matter in American Needle, and the Ninth Circuit specif-
   11   ically rejected it in the context of the very telecasts rights at issue in this case. See
   12   Am. Needle Inc. v. NFL, 560 U.S. 183, 196 (2010) (“Each of the teams is a substan-
   13   tial, independently owned, and independently managed business. ‘[T]heir general
   14   corporate actions are guided or determined’ by ‘separate corporate consciousness-
   15   es,’ and ‘[t]heir objectives are’ not ‘common.’”); NFLST, 933 F.3d at 1153 (“De-
   16   fendants have failed to identify, and we are unaware of, any binding precedent re-
   17   quiring the teams and the NFL to cooperate in order to produce the telecasts.”). As
   18   shown by other sports leagues and the NFL’s own history, which the Ninth Circuit
   19   meticulously recounted, that the teams must act collectively on certain matters such
   20   as game rules does not mean that they must act collectively when selling telecast
   21   rights. Id. at 1153-54. The argument is also inconsistent with the Defendants’ first
   22   argument. Were the league and teams a single entity, there would be no need for an
   23   SBA exemption allowing teams to enter into a contractual arrangement to combine
   24   their over-the-air (“OTA”) telecast rights because the league, as a single entity,
   25   would already own them. See id. at 1146 (“In passing the SBA, Congress recog-
   26   nized that agreements among league members to sell television rights in a coopera-
   27   tive fashion could run afoul of the Sherman Act …”) (internal quotation removed).
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    1         Third, Defendants again claim Plaintiffs do not have standing because there
    2   is no evidence of an agreement among the NFL Defendants and DirecTV even
    3   though DirecTV distributed the teams’ collectively licensed OOM telecasts per its
    4   express written contract with the NFL Defendants—an agreement that the teams
    5   collectively approved. To state the argument is to refute it. As the record evidence
    6   shows, the agreements at issue were designed to work together to restrain competi-
    7   tion among NFL team telecasts that would have otherwise existed, as they did years
    8   before, and thereby limited the availability of NFL telecasts to consumers. Plaintiffs
    9   are therefore direct purchasers with standing to sue, as the Ninth Circuit has already
   10   held. NFLST, 933 F.3d at 1158.
   11          Fourth, Defendants argue that the Court should examine the DirecTV
   12   agreement in isolation. This too is an argument the Ninth Circuit rejected. See id. at
   13   1152 (“First, the defendants argue that … it is necessary to analyze the horizontal
   14   NFL Teams agreement separately from the vertical NFL-DirecTV agreement, and
   15   when viewed in that light, the NFL-DirecTV agreement does not injure competition
   16   because it is an exclusive distribution agreement of the type that is presumptively
   17   legal. We disagree.”). The record evidence supports precisely what the Ninth Cir-
   18   cuit held would prove an antitrust violation: “Looking holistically at the alleged
   19   conduct, we conclude that the complaint adequately pleads that the vertical NFL-
   20   DirecTV agreement works in tandem with the Teams-NFL agreement to restrain
   21   competition.” Id.
   22                                    BACKGROUND
   23         Each NFL club is an “‘independently owned, and independently managed
   24   business.’” In re NFLST, 933 F.3d at 1148 (quoting Am. Needle, 560 U.S. at 196).
   25   The teams have nonetheless agreed not to compete in the telecasting of their games.
   26   Instead, they have each agreed to convey their telecasting rights to the league,
   27   which has entered into a set of agreements designed to limit competition between
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    1   NFL telecasts.2 Under these agreements, CBS and Fox produce telecasts of all Sun-
    2   day-afternoon games, but each network agrees to make available only one telecast
    3   at a time in any local market. AUF ¶¶ 192–95. The networks coordinate with each
    4   other, DirecTV, and Defendants to ensure that only two to four telecasts are carried
    5   on local CBS and Fox channels during the day on Sunday, even though ten to thir-
    6   teen games are played during that time. No more than two NFL telecasts can ever
    7   be aired head-to-head in a local television market. Id. ¶ 194.
    8         Defendants and their television partners (including CBS and Fox) have
    9   agreed that all games not aired locally will be available only through a single “pre-
   10   mium subscription” pay television product, id. ¶ 211, sold on top of a subscriber’s
   11   television package. 3 That product is Sunday Ticket, which was available in the
   12   United States only through DirecTV’s satellite service throughout the class period.4
   13   Because most households subscribe to other pay television services or to no pay
   14   television service at all, DirecTV’s exclusivity significantly reduced the number of
   15   consumers who could watch out-of-market games.
   16

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   18   2
         The teams have agreed to assign their own telecast rights to the NFL pursuant to
   19   various articles of the NFL Constitution and bylaws, as Defendants admit. See, e.g.,
        AUF ¶¶ 7, 27, 150–89.
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   25   4
          YouTube recently purchased the Sunday Ticket rights from Defendants, but, due
   26   in significant part to how Defendants and YouTube structured the contract, the
   27   price of the residential Sunday Ticket price will actually increase. AUF ¶¶ 218–19;

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 4         This reduction in output is by design.
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 8                                                     because the OTA networks (CBS
 9   and Fox) sought to avoid competition from other providers who could make availa-
10   ble the competing telecasts that many consumers would have preferred to watch:
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       The only way for these fans to watch their preferred telecasts was by installing a
25   satellite dish, subscribing to DirecTV, and paying hundreds of additional dollars for
26   the Sunday Ticket package.
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 6         By agreeing to monopolize the teams’ telecast rights in one centralized agent,
 7   namely, the NFL, and creating protected markets that enable supracompetitive pric-
 8   es, the NFL Defendants were able to command extraordinary sums in rights fees.
 9

10                                                                                   De-
11   fendants have been upfront that they insisted Sunday Ticket be sold exclusively on
12   DirecTV at supracompetitive “premium prices” to protect the networks from com-
13   peting telecasts so that those networks would pay Defendants more. Patriots’ owner
14   and chair of the NFL’s Media Committee, Robert Kraft, put it plainly:
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26              And just as the suppression of OOM telecasts protects the networks, the
27   limitation on OTA telecasts to just a few games per week protects DirecTV, allow-
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 1   ing Sunday Ticket to be sold at the supracompetitive prices that each and every
 2   class member paid.
 3                                      ARGUMENT
 4   I.    As this Court and the Ninth Circuit Have Held, the Sports Broadcasting
           Act Does Not Immunize Restraints on the Paid Telecasts at Issue Here.
 5
           The SBA provides no exemption for the collective licensing of the paid tele-
 6
     casts each class member purchased. See Telecasting of Prof. Sports Contests, H.
 7
     Rep. No. 87-1178, at 5 (1961) (“The bill does not apply to closed circuit or sub-
 8
     scription television.”). Multiple courts, including this one and the Ninth Circuit,
 9
     have confirmed this. See NFLST, 933 F.3d at 1147; see also NFLST, 2017 WL
10
     3084276, at *13; Shaw, 172 F.3d at 303. 6
11
           In an attempt to circumvent these holdings, Defendants mischaracterize
12
     Plaintiffs’ theory of the case—suggesting (but never actually saying) that Plaintiffs
13
     are seeking an injunction barring the teams from collectively licensing their tele-
14
     casts for free OTA distribution. That is not what Plaintiffs are seeking. That collec-
15
     tivization is indisputably anticompetitive, which is why it needs an exemption from
16
     the antitrust laws, but it is covered by the SBA. See NFLST, 933 F.3d at 1146 (“In
17
     passing the SBA, Congress recognized ‘that agreements among league members to
18
     sell television rights in a cooperative fashion could run afoul of the Sherman Act,’
19
     and that therefore an exemption from Section 1 of the Sherman Act was required.”)
20
     (quoting NCAA, 468 U.S. at 104 n.28).
21
           The CBS and Fox contracts are nonetheless part of the “Challenged Con-
22
     duct” because they suppress competition outside the limited area protected by the
23
     SBA. See, e.g., AUF ¶¶ 201–04. This is not a new theory. Plaintiffs have consistent-
24
     ly claimed that the agreements with CBS and Fox were part of the conspiracy to re-
25
     strain competition outside of the protection of the SBA. See AUF ¶¶ 257–263. Far
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27   6
      The SBA applies only to Section 1 of the Sherman Act. It thus has no bearing on
28   Plaintiffs’ Section 2 claims. See NFLST, 933 F.3d at 1159 n.10.

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 1   from presenting an inconsistent argument to the Ninth Circuit, the role of the net-
 2   work agreements is discussed throughout Plaintiffs’ briefing before the Circuit,
 3   starting with the very first sentence of Plaintiffs’ Statement of the Case: “Plaintiffs’
 4   Consolidated Amended Complaint (“CAC”) alleges that the National Football
 5   League (“NFL”), its member teams, and DirecTV, along with various television
 6   networks, have entered into a set of agreements that, working together, suppress
 7   competition for the sale of professional football game telecasts in violation of Sec-
 8   tions 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2.” See AUF ¶ 259.7
 9         The evidence matches Plaintiffs’ consistent position throughout the litigation.
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18                                      The obvious purpose of these clauses is to protect
19   CBS from the competing OOM telecasts that many local consumers would prefer to
20   watch. They are direct, horizontal agreements in restraint of trade with respect to
21   non-SBA-protected telecasts.
22         Defendants insist that the SBA grants them the ability to enter into agree-
23   ments with CBS and Fox that maintain those networks’ “general exclusivity.” Defs’
24
     7
       See also, e.g., Second Cons. Am. Compl., Dkt.441, ¶ 77 (recounting Fox’s report-
25   ed insistence that the subscriber base to any OOM package be capped); AUF ¶ 261
26   (Plaintiffs’ Opening Brief on Appeal, at 5) (“To protect these local telecasts from
     the other NFL telecasts, the NFL and networks agreed that all other Sunday-
27   afternoon games will be available nationally only through a limited, non-basic, sub-
28   scription service.”).

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 1   Mem., at 8. Defendants never define what they mean by “general exclusivity,” but
 2   what they cannot legitimately claim is that the SBA allows them to protect CBS and
 3   Fox’s local broadcasts from competition from the paid telecasts that Congress ex-
 4   cluded from the SBA. If that were correct, Defendants could turn the SBA into a
 5   blanket exemption merely by including limitations on paid telecasts in their OTA
 6   contracts with CBS and Fox. 8
 7         Defendants then turn the burdens at issue on their head and claim that Plain-
 8   tiffs must prove that the restraints are unnecessary to accomplish various NFL be-
 9   haviors. If Defendants believe their naked restraints are necessary to accomplish
10   some other goal (like maintaining current player salary levels), it is their burden to
11   convince the trier of fact that (1) that is so and (2) that goal is procompetitive in the
12   relevant sense, meaning that it increases the output or lowers the prices of NFL tel-
13   ecasts. See NCAA, 468 U.S. at 113; see also Nat’l Soc’y of Prof’l Eng’rs v. United
14   States, 435 U.S. 679, 692 (1978) (“the purpose of the analysis is to form a judgment
15

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17   8
       Comcast and American Express do not hold otherwise. Comcast simply holds that
18   damages must be measured in relation to the antitrust injury alleged. Comcast Corp.
     v. Behrend, 569 U.S. 27, 35–37 (2013). American Express merely sets forth the
19   rule-of-reason framework. Ohio v. Am. Express Co., 138 S. Ct. 2274, 2283–84
20   (2018). Neither addresses, let alone overturns, the well-settled law “that exemptions
     from the antitrust laws are to be narrowly construed.” Grp. Life & Health Ins. Co. v.
21   Royal Drug Co., 440 U.S. 205, 231 (1979). While Plaintiffs are not asserting the
22   argument here and the Court need not consider it, Defendants may have entirely ab-
     rogated their right to invoke the SBA exemption by inserting non-SBA protected
23   restraints into their OTA contracts and further contracting with DirecTV to charge
24   consumers for those broadcasts. See id. at 231 (“In analogous contexts, the Court
     has held that an exempt entity forfeits antitrust exemption by acting in concert with
25   nonexempt parties. The Court has held, for example, that an exempt agricultural
26   cooperative under the Capper-Volstead Act loses its exemption if it conspires with
     nonexempt parties. … Similarly, the Court has consistently stated that a union for-
27   feits its exemption from the antitrust laws if it agrees with one set of employers to
28   impose a wage scale on other bargaining units.”).

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 1   about the competitive significance of the restraint; it is not to decide whether a poli-
 2   cy favoring competition is … in the interest of the members of an industry.”).
 3         In any event, nowhere do Plaintiffs or their experts require the “elimination
 4   or evisceration of the NFL’s agreements with CBS and Fox.” Defs’ Mem. at 2.
 5   Plaintiffs’ experts have been clear that the collective sale of OTA rights to CBS and
 6   Fox are covered by the SBA and are not part of the Challenged Conduct: “[T]he
 7   Plaintiffs challenge those agreements taken together, but only challenge specific as-
 8   pects of the combined agreements. For example, I understand that a substantial
 9   portion of the transactions involved in these agreements are not part of the Chal-
10   lenged Conduct—including the pooling of rights for the purposes of production and
11   broadcasting NFL telecasts on OTA channels that I understand the SBA provide a
12   degree of protection from antitrust scrutiny.” Rascher Reply Report, ¶ 51 (emphasis
13   added); see also Rascher Merits Report, ¶ 58.9
14         Nor do Plaintiffs’ experts claim that the collective sale of OTA rights must
15   cease in a world without the Challenged Conduct. The most Plaintiffs’ experts say
16   in this regard is that the teams may have voluntarily decided to end the collectiviza-
17   tion of OTA rights if the other restraints were removed. The SBA allows the teams
18   to collectively sell their OTA rights. It does not mandate it.
19         Professor Rascher analyzed the effects of removing the Challenged Conduct
20   and found that whether the teams chose to continue to agree to collectively license
21   their OTA telecasts or not, the result would be the same: the NFL telecast schedule
22   on Sunday would likely look like the college football telecast schedule on Saturday
23   and, as a result, vastly more NFL telecasts would be available on both OTA and ca-
24   ble channels. “Both options—one in which the current OTA packages could have
25

26
     9
       Plaintiffs’ expert reports are attached to the Kilaru Declaration, filed along with
     Defendants’ motion. Professor Rascher’s opening merits report and rebuttal report
27   are attached as Exhibits 3 and 4, respectively, and the rebuttal report of Professor
28   Einer Elhauge is attached as Exhibit 30.

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 1   fundamentally survived as is, or one in which the current OTA packages could have
 2   been replaced or reduced in scope—were possible but-for outcomes, depending on
 3   choices of the parties in the BFW [but for world, meaning a world without the re-
 4   straints].” Rascher Reply, ¶ 416 (emphasis added). “Whether the NFL Defendants
 5   would have opted to continue to pool their Sunday afternoon content for OTA tele-
 6   casts in the absence of the Challenged Conduct in the BFW is an empirical question
 7   that can never be answered with certainty: Defendants actual-world alleged mis-
 8   conduct has precluded any direct empirical comparison and the past cannot be un-
 9   wound. Nevertheless, my prior report shows that regardless of which version of the
10   BFW would have occurred, damages are the same.” Id.10
11         Nor do Plaintiffs or their experts claim that the League may not share the
12   revenue generated from the sale of their collectively licensed OTA rights. What the
13   teams cannot do is agree to share 100% of their non-SBA immunized telecast reve-
14   nue for the purpose or effect of restraining competition among them.
15

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18               Accordingly, if a horizontal agreement on pooling OOM telecasts is an-
19   ticompetitive, a horizontal agreement to share 100% of OOM telecast revenue
20   would also be anticompetitive. See Elhauge Rpt. ¶¶ 8–10, Sec. II; Rascher Reply
21   Rpt. ¶ 199 (“The fact that one type of unnecessary conduct can achieve similar an-
22   ticompetitive outcomes as another type of conduct does not affect the economic
23   analysis of those anticompetitive outcomes.”). It is Defendants’ burden to prove that
24

25   10
        Contrary to Defendants’ argument and citation to Justice Kavanaugh’s remarks,
26   Plaintiffs are not claiming that the teams must, as a matter of law, compete with
     each other and the NFL so long as they make their own independent business deci-
27   sions and do not agree with each other not to compete. This is a fundamental prem-
28   ise of the antitrust laws.

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 1   the current levels of telecast revenue sharing (which are different than how other
 2   sources of NFL revenue are shared 11) somehow lead to a procompetitive effect—
 3   something their motion does not even try to do. 12
 4         Defendants’ final argument regarding the SBA is that the exemption immun-
 5   izes all of the teams’ horizontal telecast agreements because the only place where
 6   the teams pool their rights is in the SBA-protected NFL-Networks agreements. This
 7   is factually wrong and legally irrelevant.
 8         First, Defendants are wrong on the facts. The NFL-Network contracts pre-
 9   suppose the collectivization of rights in the NFL. Defendants admitted this in their
10   Answer: “NFL Defendants also admit that the NFL is authorized to negotiate on
11   behalf of the NFL member clubs for the collective licensing and distribution of
12   rights to broadcast NFL games.” Dkt. 442, ¶ 81.
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       See, e.g., Rascher Rpt. ¶ 271 n.375 (noting, for example, that clubs share only
     40% of their ticket sales).
23   12
        The SBA likewise has nothing to do with player salaries. The only thing Plain-
24   tiffs’ experts have said is that the current collective bargaining agreement (CBA)
25   sets salary caps based on league revenues. Players would only earn less if the clubs
     decided to pay them less amid competition over OOM telecasts, which is just one
26   of various sources of team revenue. And again, even if it were true, it would be the
27   NFL’s burden to show that the current player salary levels would be affected by tel-
     ecast competition and that lower salaries would somehow cause viewership to de-
28   cline or prices to rise.
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 3         Moreover, while such an agreed-upon transfer need not be documented in a
 4   separate agreement, 13 contrary to Defendants’ representation, there is evidence of
 5   such agreements.
 6

 7

 8                                           And regardless of whether the pooling of
 9   OOM rights is written down in a separate document, the indisputable fact is that the
10   teams sold their OOM telecasts collectively to DirecTV. AUF ¶ 207. That contract,
11   as much as the agreements with the Networks, reflects the pooling of those rights.
12         Second, even if it were true that the only horizontal telecast arrangement be-
13   tween the teams was contained in the NFL’s contracts with the networks, that would
14   not exempt those arrangements from antitrust scrutiny. Sports leagues may not ex-
15   pand the SBA’s limited immunization simply by incorporating anticompetitive re-
16   straints into contracts that contain SBA-protected provisions. Under Defendants’
17   logic, sports leagues would be allowed to enter into all sorts of anticompetitive
18   agreements merely by including those provisions in OTA television contracts. As
19   the Third Circuit recognized in Shaw, “to adopt the construction urged by the NFL
20   [] would allow the exception to swallow the rule: a sponsored telecast to a limited
21   geographic area would secure an antitrust law exemption for nationwide sales.” 172
22   F.3d at 302. The same would happen under Defendants’ current theory. Defendants
23   may not use the SBA as a shield to expand the limited protection provided by the
24
     13
       See, e.g., Relevent Sports LLC v. U.S. Soccer Fed., Inc., 61 F.4th 299, 309 (2d
25   Cir. 2023) (“A plaintiff challenging an association rule that governs the conduct of
26   members’ separate businesses need not allege an antecedent agreement to agree.
     The promulgation of the rule, in conjunction with the members’ ‘surrender[ ] ... to
27   the control of the association,’ sufficiently demonstrates concerted action.”) (quot-
28   ing Associated Press v. United States, 326 U.S. 1, 19 (1945)).

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 1   SBA and engage in precisely the anticompetitive conduct—the collective sale of
 2   paid telecast rights—that Congress left subject to challenge under the antitrust laws.
 3   II.   As the Ninth Circuit Has Held, Defendants Are Not a Single Entity, In-
           cluding When Licensing Telecasts.
 4
           Having just argued that the SBA protects the combining of the teams’ telecast
 5
     rights, Defendants reverse course and argue that the League and teams are a single
 6
     entity “incapable of concerted action.” Defs’ Mem. at 12. Leaving aside this obvi-
 7
     ous inconsistency (if the NFL Defendants were in fact a single entity, there would
 8
     have been no need for Congress to have passed the SBA), the Ninth Circuit has al-
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     ready rejected each of the Defendants’ arguments. See NFLST, 933 F.3d at 1153–55.
10
     Defendants never cite these holdings let alone explain how they are not controlling.
11
           The Ninth Circuit examined the legal and factual history of NFL telecasts
12
     and on that basis rejected the Defendants’ argument that “the production of the tele-
13
     casts necessarily requires joint action[.]” Id. at 1153. It observed that “[i]n the ab-
14
     sence of a legal requirement that the NFL teams, NFL, and broadcasters coordinate
15
     in filming and broadcasting live games, the Los Angeles Rams (for instance) could
16
     contract for their own telecast of Rams games and then register [the copyright for]
17
     the telecasts for those games with the Rams (and perhaps the team against whom
18
     they are playing),” id. at 1154, which, the Court noted, was what NFL teams did be-
19
     fore the inception of the challenged agreements and the SBA, see id. at 1144.
20
     “Thus, we reject the defendants’ argument that American Needle is inapposite; here,
21
     like in American Needle, the agreements not to compete concern separately owned
22
     intellectual property, and impose an unlawful restraint on independent competi-
23
     tion.” Id. at 1154 (citation omitted).
24
           This holding was based on the Ninth Circuit’s exhaustive review of court fac-
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     tual findings and congressional testimony. “In the 1950s, the right to telecast NFL
26
     games was ‘controlled by individual teams,’ which independently licensed the tele-
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 1   casts of their games to television networks.” Id. (quoting the findings of fact—after
 2   trial—in U.S. Football League v. NFL, 842 F.2d 1335, 1346 (2d Cir. 1988)).14
 3         The Ninth Circuit also quoted the findings of Congress that “‘[b]y the late
 4   1950s, eleven individual teams had signed contracts with the Columbia Broadcast-
 5   ing System; two teams—Baltimore and Pittsburgh—had signed contracts with the
 6   National Broadcasting Company; and one team—Cleveland—had organized its
 7   own network.’” Id. at 1145 (quoting H.R. Rep. No. 93-483 at 4 (1973)).
 8         Defendants now claim that this “appeal to history actually turns out to be ev-
 9   idence of the historical operation of the NFL and its member teams as a single enti-
10   ty for the purpose of producing telecasts.” Defs’ Mem. at 16–17. This argument,
11   which ignores both history and the record evidence, is based entirely on the De-
12   fendants’ misleading and selective quotation from an economics treatise quoted in
13   one of Plaintiffs’ expert’s report, which when read in full shows that the league was
14   not historically a single entity: “In 1956, CBS became the first network to broadcast
15   an entire season of professional football on network television. After reaching an
16   initial agreement with Commissioner Art Bell for approximately one million dol-
17   lars, CBS still needed to negotiate contracts with each team independently, which it
18   managed to do.” See Rascher Report ¶ 77 (emphasis added). Defendants claim that
19   this shows they were historically a single entity because there was an “initial
20   agreement” with the NFL Commissioner, but if Defendants were operating as a sin-
21   gle entity, CBS would not have had to negotiate separate contracts “with each team
22   independently.” The fact that the league also signed simply reflects that the League
23

24
     14
        The NFL’s expert, B. Douglas Bernheim, himself admits that NFL teams sold
25   their broadcast rights individually from 1939 to 1960. See Dkt. 956-10 (Bernheim
26   Rpt.) ¶¶ 163–64. In 1960, as the Ninth Circuit recounted, the NFL first adopted a
     horizontal agreement to collectively pool television rights, which was struck down
27   as an antitrust violation in United States v. NFL, 196 F. Supp. 445 (E.D. Pa. 1961).
28   See NFLST, 933 F.3d at 1145.

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 1   is a separate entity, which no one disputes; not that the league and its 32 teams are a
 2   single entity.15
 3          As Prof. Elhauge, Plaintiffs’ expert, testified, the NFL would have every in-
 4   centive to agree (as an entity controlled by the 32 teams) to allow its trademarks to
 5   be telecast. See Leckman Decl. Ex. 3 (Elhauge Dep. Tr.) at 128:15–23 (“Q. Would
 6   the New England Patriots have the right to display NFL logos in their game without
 7   consent of the NFL? A. No. I think the NFL would own their trademarks. So the
 8   logo of the NFL couldn’t be shown without their agreement, but the NFL would
 9   have incentives to have its logo shown in those games because it wants to promote
10   its brands and because all the teams after all control the NFL.”). Defendants’ claim
11   that Plaintiffs have failed to offer “a single example where a telecast of a sporting
12   event was produced over the objection of the participating teams,” Defs’ Mem. at
13   15, is therefore backwards. The point is that teams, operating independently, can
14   reach agreements even when the telecast rights are not owned by a single entity.
15   Notre Dame, for example, sells its telecast rights independently and has no trouble
16   reaching agreements with the NCAA or the teams its plays over the exhibition of
17   their respective trademarks. See, e.g., AUF ¶¶ 81–82. Indeed, in any given football
18   telecast, dozens of trademarks are exhibited on the screen—including in-stadium
19   advertising and a legion of equipment sponsors—and no one is contending that the
20   joint conduct of these entities is essential for a telecast to be created. 16
21   15
       The claim that history proves the League is a single entity is also undercut by the
22   1961 injunction preventing Defendants from consolidating the teams’ rights prior to
     the SBA’s passage. See United States v. NFL, 196 F. Supp. 445, 447 (E.D. Pa.
23
     1961) (holding that “by agreement, the member clubs of the League have eliminat-
24   ed competition among themselves in the sale of television rights to their games”).
25
     16
       Defendants’ legal framing is also wrong because the Supreme Court has held that
     the antitrust laws apply even when the league and teams need to cooperate in some
26   fashion. See American Needle, 560 U.S. at 199 n.7 (“Of course the NFL produces
27   NFL football; but that does not mean that cooperation amongst NFL teams is im-
     mune from §1 scrutiny. Members of any cartel could insist that their cooperation is
28   necessary to produce the ‘cartel product’ and compete with other products.”).
                                                  17
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 1         Beyond the NFL’s history, the Ninth Circuit recounted the Supreme Court’s
 2   holding “that college football teams ‘are clearly able to negotiate agreements with
 3   whatever broadcasters they choose.’” NFLST, 933 F.3d at 1154 (quoting NCAA, 468
 4   U.S. at 114 n.53). As this Court recognized in its class-certification decision, the
 5   Ninth Circuit held that the arrangements here and the arrangements in NCAA are “a
 6   close analog.” NFLST, 2023 WL 1813530, at *8 (C.D. Cal. Feb. 7, 2023). College
 7   football games require cooperation between two different teams and one or more
 8   governing bodies, just as NFL games do. The schools, the NCAA, and, in many
 9   cases, one or more conferences possess trademarks, just as the NFL does. And just
10   as the teams of the NFL are interested in the success of the league as a whole, the
11   Court emphasized that the NCAA plays a similar role with respect to college foot-
12   ball, describing it as “the guardian of an important American tradition.” NCAA, 468
13   U.S. at 101 & n.23. While a “certain degree of cooperation is necessary” in colle-
14   giate football, as it is in the NFL, the “specific restraints on football telecasts that
15   are challenged in this case do not … fit into the same mold[.]” Id. at 117.17
16         The Ninth Circuit also credited the findings of other courts that in other pro-
17   fessional sports leagues, “‘each team owns the initial right to control telecasts of its
18   home games.’” NFLST, 933 F.3d at 1154 (quoting Laumann v. NHL, 907 F.Supp. 2d
19

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     17
        Defendants elide the production of a game with the selling of a telecast, citing to
     Plaintiffs’ experts’ unremarkable statements that the cooperation required to sched-
21   ule and create an NFL game (on the field of play) would likely survive Rule of
22   Reason scrutiny. Defs’ Mem., 19, 19 n.5. There is no economic connection between
     the need to create common rules and telecasts. “[A]greements on common game
23   rules and similar matters are needed to have a league that sells sporting competi-
24   tions, whereas agreements to collectively pool telecast rights are not. … Further, in
     college football today, the NCAA sets common game rules and similar matters
25   without pooling television rights.” Elhauge Rep. at ¶ 23. Defendants again cite to
26   Spinelli v. NFL, 96 F. Supp. 3d 81 (S.D.N.Y. 2015) and Washington v. NFL, 880 F.
     Supp. 2d 1004 (D. Minn. 2012); two cases they presented to the Ninth Circuit and
27   that the Ninth Circuit ignored. Neither opinion concerned telecast rights, which do
28   not “fit into the same mold” as other types of cooperation. NCAA, 468 U.S. at 117.

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 1   465, 473, 485 (S.D.N.Y. 2012)); see also id. (“‘The copyright of the teleplays of all
 2   Red Sox games is owned by the Red Sox.’”) (quoting New Boston Television, Inc. v.
 3   ESPN, 1981 WL 1374, at *1).
 4          Remarkably, in the face of this well-documented factual and legal history,
 5   which the Ninth Circuit meticulously recounted, Defendants once again claim they
 6   are a single entity. The argument must once again fail.
 7   III.   As the Ninth Circuit Has Held, Plaintiffs Are Direct Purchasers
 8          Defendants next argue that Plaintiffs do not have antitrust standing pursuant
 9   to the “direct purchaser” rule set forth in Illinois Brick Co. v. Illinois, 431 U.S. 720
10   (1977). This is yet another issue the Ninth Circuit resolved against Defendants, see
11   NFLST, 933 F.3d at 1156-58, which they now seek to circumvent with the frankly
12   bizarre claim that DirecTV did not participate in the conspiracy.
13          Illinois Brick addressed a situation in which a cartel sells something at su-
14   pracompetitive prices to direct purchasers, who resell that product and pass on some
15   of their injury to indirect purchasers further downstream. In those cases, the indirect
16   purchasers lack antitrust standing to recover for their passed-on overcharge. The di-
17   rect purchasers initially bore the full brunt of the antitrust injury, and are presumed
18   to have adequate incentives to sue, even though they may have passed on some of
19   the injury. Illinois Brick reasoned that allowing suits by direct and indirect purchas-
20   ers would require complicated inquiries into the extent to which the inflated prices
21   were passed on. 431 U.S. at 732–33.18
22   18
       Illinois Brick is a limitation only on seeking passed-through damages. It has no
23   bearing on injunctive claims, which Plaintiffs also assert here. See NFLST, 933 F.3d
     at 1161 n.2. “[T]he challenged conduct driving this antitrust case remains ongoing,
24
     without a commitment from Defendants that it will end. Indeed, at the hearing, the
25   parties acknowledged that, at the end of the 2022-2023 football season, Sunday
     Ticket will be moving to Google-owned YouTube, behind a subscription paywall.”
26
     NFLST, 2023 WL 1813530 at *14. We now know that the price of NFLST on
27   YouTube is increasing to between $349 to $389 for YouTube TV subscribers and
28
     between $449 and $489 for non-YouTube subscribers. AUF ¶ 219.

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 1         Illinois Brick plays no role in this case because Plaintiffs are direct purchas-
 2   ers. The NFL’s assertion that it is “undisputed that Plaintiffs are indirect purchas-
 3   ers,” Defs’ Mem. at 20, is simply wrong. Plaintiffs have never claimed that their
 4   theory of damages is that Defendants overcharged DirecTV and then DirecTV
 5   passed on some of that overcharge to Plaintiffs. Plaintiffs’ injuries are a direct result
 6   of Defendants’ and DirecTV’s exploitation of their monopoly over OOM telecasts.
 7   Plaintiffs are directly harmed because Defendants’ agreements restrained competi-
 8   tion between Sunday Ticket and the OOM telecasts that would have been available
 9   from Defendants, enabling Sunday Ticket’s supracompetitive prices.
10         The Ninth Circuit agreed that Plaintiffs had adequately alleged that the con-
11   tracts “work together as a single conspiracy to limit the output of NFL telecasts,”
12   which “in turn results in prices for out-of-market games being higher than they
13   would be in the absence of the conspiracy.” NFLST, 933 F.3d at 1157. “Even
14   though DirecTV is the immediate seller to the plaintiffs, the plaintiffs’ allegation
15   that they were directly injured by the conspiracy among the NFL teams, the NFL,
16   and DirecTV is sufficient to allege antitrust standing …” Id. (emphasis added).
17         Now, for the first time, Defendants claim that Plaintiffs cannot prove these
18   allegations because they “cannot prove a conspiracy involving DirecTV.” Defs’
19   Mem. at 21. This argument is inexplicable given that no one disputes that DirecTV
20   was granted a monopoly over OOM telecasts pursuant to the interrelated agree-
21   ments and that the monopoly could only be possible if the teams, the NFL, and the
22   networks agreed not to distribute competing OOM telecasts. The primary evidence
23   of these interlocking agreements not to compete are the agreements themselves. See
24   AUF ¶¶ 190, 207–11. The NFL-Teams agreement consolidates would-be competing
25   telecasts in the NFL. AUF ¶ 150.
26
                                               Defendants, in other words, continue to in-
27   sist on price and distribution conditions to limit the number of OOM telecast view-
28   ers. Id. ¶ 244.

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 7                                                                       Discovery has con-
 8   firmed the very allegations that the Ninth Circuit held would suffice to establish
 9   that Plaintiffs are directly injured.
10          Ignoring the Ninth Circuit’s holding that these agreements must be analyzed
11   collectively, Defendants segregate their agreement with DirecTV and claim that the
12   teams are not part of the conspiracy because they are not signatories to that agree-
13   ment. Defs’ Mem. at 21–22. As an initial matter, this is irrelevant. While the NFL,
14   acting as the agent for the teams, may have signed the agreement, any agreement
15   between the league and DirecTV would mean little without the teams’ attendant
16   agreement not to offer competing OOM telecasts. See NFLST, 933 F.3d at 1148
17   (“The consequence of this agreement is that an individual team cannot enter into
18   individual agreements with networks, satellite TV providers, or internet streaming
19   services. Instead, only the NFL can enter into an agreement to sell those rights.”).
20          It also does not matter that the NFL, rather than the 32 teams, entered into the
21   exclusive deal with DirecTV, given that the NFL is an “instrumentality” of the
22   teams. See Am. Needle, 560 U.S. at 201 (“[D]ecisions by NFLP regarding the
23   teams’ separately owned intellectual property constitute concerted action” because
24   it is “‘an instrumentality’ of the teams.”); see also, e.g., Relevent Sports, 61 F.4th at
25   309.
26          It is also factually incorrect that the teams play no role in the DirecTV deal as
27   they, by the NFL’s own admission, “ratify those agreements.” Defs’ Mem. at 22.
28   The Ninth Circuit has already held that if Plaintiffs could prove ratification of this
                                                21
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 1   sort (a fact the NFL now concedes and discovery confirmed 19), they would have
 2   proven a horizontal restraint that restricts output: “According to the complaint, the
 3   NFL members vote to approve the contract between DirecTV and the NFL. There-
 4   fore, the complaint adequately alleges that the Teams-NFL Agreement is a ‘horizon-
 5   tal restraint – an agreement among competitors’ that ‘places an artificial limit on the
 6   quantity of televised football that is available [for sale] to broadcasters and con-
 7   sumers.’” NFLST, 933 F.3d at 1152 (quoting NCAA, 468 U.S. at 99). 20
 8            Defendants also claim that there is “no evidence of a conspiracy involving
 9   DirecTV and the NFL,” because the “Sunday Ticket agreement is a standard exclu-
10   sive licensing agreement.” Defs’ Mem., 22–23. This again ignores the fact that the
11   Ninth Circuit’s decision requires the combined effect of the agreements to be exam-
12   ined together and not in isolation. NFLST, 933 F.3d at 1152. The evidence shows
13   that Defendants made the deal with DirecTV specifically because an exclusive deal
14   with DirecTV would not expand OOM telecast output in a way that would jeopard-
15   ize the massive rights fees that the networks pay the NFL. AUF ¶¶ 231–36.
16

17

18            Accordingly, while discovery has revealed that the NFL’s claim that it plays
19   no role in the price or composition of the Sunday Ticket package is false, see AUF
20   ¶ 245, that involvement is not the primary output limitation. The primary output
21   limitation was the agreements among the teams, DirecTV, and the networks to only
22   make OOM telecasts available to the limited universe of DirecTV subscribers.
23

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     19
          See, e.g., AUF ¶¶ 149–49, 191; see also id. ¶ 27.
25
     20
        Defendants assert that the owners “take such actions on behalf of the League as a
     whole” as if their own interests were irrelevant. Defs’ Mem. at 22. The owners take
26   such actions because they believe they can earn more money as monopolists than as
27   competitors. As the Supreme Court has held that the clubs are nominally acting in
     the interest of the League is irrelevant because “that commonality of interest exists
28   in every cartel.” Am. Needle, 560 U.S. at 201 (internal quotation removed).
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 1   Competing OOM telecasts, which would have constrained the price of Sunday
 2   Ticket, did not exist because of those agreements. Plaintiffs were thus forced to pay
 3   supracompetitive prices, a direct injury that confers antitrust standing.
 4   IV.   As the Ninth Circuit Has Held, the Court May Not Consider the
           DirecTV Agreement in Isolation.
 5
           Defendants’ final argument mimics its standing argument, asking the Court
 6
     to excise the DirecTV agreement from the other agreements and analyze it separate-
 7
     ly. The Ninth Circuit’s decision precludes such an approach. See NFLST, 933 F.3d
 8
     at 1152 (“Contrary to the defendants’ argument, we are required to take a holistic
 9
     look at how the interlocking agreements actually impact competition.”).
10
           As they did before the Ninth Circuit, Defendants pitch the DirecTV agree-
11
     ment as a vanilla arrangement between a single seller and single outlet operating in
12
     a competitive market. This gets both sides of the arrangement wrong.
13
           First, the NFL is not a single seller. The DirecTV arrangement sets and rein-
14
     forces horizontal restraints that prevent the teams from offering OOM telecasts in
15
     competition with Sunday Ticket. The NFL has offered no precedent supporting the
16
     claim that horizontal agreements that impose downstream exclusionary restraints
17
     are procompetitive, let alone legal as a matter of law. Nor could they, as the Su-
18
     preme Court has held that an exclusive vertical agreement made with horizontal
19
     competitors would be antitrust violation. NCAA, 468 U.S. at 109 n.39 (“[A] court
20
     would not hesitate in enjoining a domestic selling arrangement by which, say, Ford
21
     and General Motors distributed their automobiles nationally through a single selling
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     agent.”). “Decisions by NFL teams to license their separately owned trademarks
23
     collectively and to only one vendor are decisions that deprive the marketplace of
24
     independent centers of decisionmaking, and therefore of actual or potential compe-
25
     tition.” Am. Needle, 560 U.S. at 197 (citation removed).21
26

27   21
        Plaintiffs are not claiming that intellectual property holders “must take all com-
28
     ers,” Defs’ Mem. at 25; they are claiming that the League may not prevent intellec-
     tual property holders (the individual teams) from taking the comer they would in-
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 1         Second, DirecTV is not operating in a competitive environment. The reason
 2   why antitrust laws often allow exclusive licensing deals is because they can pro-
 3   mote interbrand competition. See Cont’l T.V., Inc. v. GTE Sylvania Inc., 433 U.S.
 4   36, 53 (1977). But DirecTV is not representing one team’s broadcasts in competi-
 5   tion against other distributors representing other teams. Rather, DirecTV’s exclusiv-
 6   ity has prevented interbrand competition between the separate teams’ telecasts.22
 7         The NFL’s final argument is that the creation of NFLST was “output-
 8   expanding” because “[p]rior to 1994, the NFL-Network Agreements did not permit
 9   distribution of telecasts of Sunday afternoon NFL games beyond those broadcasted
10   in-market by CBS and Fox.” Defs’ Mem. at 25. Even if those earlier agreements
11   were protected by the SBA (and because they prevented telecasts beyond the SBA’s
12   narrow exemptions they would not be), Defendants are asking the Court to compare
13   output now versus output before 1994. That is not how a but-for-world analysis
14   works. Plaintiffs are not challenging the creation of Sunday Ticket in the abstract.
15   Plaintiffs are challenging restraints that prevented the addition of other competitive
16   market options. The fact that adding Sunday Ticket increased output over past lev-
17   els is entirely consistent with the fact that the challenged restraints decreased output
18

19   dependently choose in a world without the restraints. See NFLST, 933 F.3d at 1154
20   (“the Los Angeles Rams (for instance) could contract for their own telecast of Rams
     games and then register the telecasts for those games with the Rams (and perhaps
21   the team against whom they are playing). Only the agreements that are the subject
22   of plaintiffs’ antitrust action prevent such independent actions.”).
23
     22
        Defendants cite E & L Consulting, Ltd. v. Doman Indus. Ltd., 472 F.3d 23 (2d
     Cir. 2006) to claim that vertical arrangements are “presumptively legal,” Defs’
24   Mem. at 24, but neglect to mention that the Second Circuit emphasized it was eval-
25   uating a “run-of-the-mill” exclusive vertical agreement. Likewise, Parrish v. NFL
     Players Ass’n, 534 F. Supp. 2d 1081 (N.D. Cal. 2007) held that “the mere exist-
26   ence” of an exclusive deal would not typically threaten competition and Levi Case
27   Co. v. ATS Prod., Inc., 788 F. Supp. 428 (N.D. Cal. 1992) noted that an “exclusive
     license, by itself,” would not normally be illegal. As the Ninth Circuit held, that
28   “run-of-the-mill” circumstance is not the situation here. NFLST, 933 F.3d at 1151.
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 1   relative to competitive levels. See ABA Section of Antitrust Law, Proving Antitrust
 2   Damages: Legal and Economic Issues 89 (3d ed. 2017) (“The purpose of this analy-
 3   sis is to isolate the effects of the challenged conduct so as to ascertain what would
 4   have happened ‘but for’ the defendant’s unlawful activities.”).
 5         Far from increasing output, Defendants and their television partners manipu-
 6   lated the NFL telecast market to limit the output that would have existed absent the
 7   restraints. To watch the telecasts they preferred to watch, class members had to sub-
 8   scribe to DirecTV and pay hundreds of additional dollars (and many thousands in
 9   the case of commercial subscribers) each year for Sunday Ticket. See AUF ¶ 217.
10   This had the intended effect of making it so that fewer fans watched these games
11   than otherwise would. This is not only Plaintiffs’ position in this litigation. It also is
12   Defendants’ position,
13

14         In addition to the reduction in quantity, DirecTV’s exclusivity diminished
15   quality by making telecast availability unresponsive to consumer preference. By de-
16   sign, the restraints force a limited subset of games to be aired in a given market. If
17   OOM content were more widely available, consumer welfare would increase be-
18   cause many fans currently left with the choice to watch a less desired telecast (or
19   not watch at all), would instead be able to watch their first-choice telecast.
20         These are core antitrust injuries. See NCAA, 468 U.S. at 106-07 (holding that
21   the “anticompetitive consequences of this arrangement are apparent. Individual
22   competitors lose their freedom to compete. Price is higher and output lower than
23   they would otherwise be, and both are unresponsive to consumer preference.”).
24                                      CONCLUSION
25         The Court should deny Defendants’ motion for partial summary judgment.
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